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                                  UNITED STATES BANKRUPTCY COURT,SOUTHERN DISTRICT OF FLORIDA
                                                                       wwvv.flsb.uscourts.gov

                                                  CHAPTER 13 PLAN (Individual Adjustment of Debts)
                          □                                            Original Plan

                          [g 2^                                        Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)

                          □                                            Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

DEBTOR: Juan Perez Mier                                    JOINT DEBTOR:                                          CASE NO.: 20-13622-RAM

SS#: xxx-xx- 8406                                             SS#: xxx-xx-

I.            NOTICES

              To Debtors:          Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
                                   and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
                                   Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
                                   filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
              To Creditors:        Your rights may be affected by this plan. You must file a timely proof of claim in order to’be paid. Your claim may
                                    be reduced, modified or eliminated.
          ■   To All Parties:      The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
                                    box on each line listed below in this section to state whether the plan includes any of the following:
                                                                                                                                                             •v

     The valuation of a secured claim, set out in Section 111, which may result in a                                                    I I   Not included
                                                                                                                   II Included
     partial payment or no payment at all to the secured creditor
     Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set                                            [Wl   Not included
     out in Section III
                                                                                                                   □ Included
                                                                                                                                               iff
     Nonstandard provisions, set out in Section VIII                                                               r~|   Included       11 Not included
11.           PLAN PAYMENTS. LENGTH OF PLAN AND DEBTORfSV ATTORNEY’S FE E

              A. MONTHLY PLAN PAYMENT; This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
                   fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
                   amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                   1.     $340.75                for months    1   to 60     ;

              B.   DEBTORfSV ATTORNEY'S FEE;                                           □ NONE          □ PRO BONO
         Total Fees:                $4650.00             Total Paid:                $690.00             Balance Due:         $4485.00

                              $116.81
          Payable _                             ^onth (Months _1_ to 38 )
          Payable _             $46.22          /month (Months 39 to 39 )
          Allowed fees under LR 2016-I(B)(2) are itemized below:
          $4500 Attorneys Fees + 525 (motion to value)+$ 150 Cost = $4650 •

          Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III.          TREATMENT OF SECURED CLAIMS

            A. SECURED CLAIMS: g] NONE
            [Retain Liens pursuant to 11 U.S.C. § 1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
          . B. VALUATION OF COLLATERAL; □ NONE
                       IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
                                                                                                                                                             s
                       SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
                       YOU PURSUANT TO BR 7004 AND LR 3015-3.

                       1. REAL PROPERTY: 0 NONE
                                                                                                                                                V
                       2. VEHICLES(S): □ NONE



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                                                                         Debtor(s): Juan Perez Mier                               Case number: 20-13622-RAM


            1. Creditor: Nissan Motor Acceptance            Value of Collateral;                $10,000.13                          Payment

               Address: POB 660366                          Amount of Creditor's Lien:          .$17,992.00       Total paid in plan:      $1 1,391.74
                             Dallas, TX 75266-0366

         Last 4 Digits of Account No.: 3758                 Interest Rate:       5.25%                                $189.86    /month (Months      I to 60 )

            VIN: KNMAT2MTXGP639449

         Description of Collateral:
         2016 Nissan Rogue POC#3
                                                                                                                                                •V




        Check one below:

        Pj|Claim incurred 910 days or more pre-
         —'petition
        I—.Claim incurred less than 910 days pre-
        '—^petition
                   3. PERSONAL PROPERTY: g] NONE
             C. LIEN AVOIDANCE g NONE
             D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
                  distribution fom the Chapter 13 Trustee,
                g NONE
             E. DIRECT PAYMENTS: Secured claims .filed by any creditor granted stay relief in this section shall not receive a distribution
                  fom the Chapter 13 Trustee,
                  g NONE
IV.          TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 1 1 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
             A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY’S FEE: g NONE
             B. INTERNAL REVENUE SERVICE: g NONE
             C. DOMESTIC SUPPORT OBLIGATION(S): □ NONE                                     g CURRENT AND PAID OUTSIDE “
        .     I . Name of Creditor: Madayanly Garcias
                  Payment Address: 97 E 47 Street. Hialeah, FL 33013
                  Total Due:                $0.00

                   Payable             $0.00           /month (Months            to         )

                   Regular Payment (if applicable)           $0.00        /month (Months              to      )

             D. OTHER: g NONE
V.           TREATMENT OF UNSECURED NONPRIORITY CREDITORS

               A. Pay             $70.59        /month (Months 39'      to 39 )

                       Pay       $116.81        /month (Months 40       to 60 )

                       Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

               B. Q If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                 g NONE
               *Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
               creditors pursuant to 11 U.S.C. § 1322.
VI.          EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims fjed by any creditor/lessor granted stay relief in this
             section shall not receive a distribution from the Chapter 13 Trustee.                     *
                   n NONE



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                                                                      Debtor(s): Juan Perez Mier                         Case number: 20-13622-RAM

                   [■] Unless provided for under a separate section, the debtor(s) request that upon confirmation of this plan, the automatic stay be
                       terminated in rem as to the debtor(s) and in rem and in personam as to any codebtor(s) as to these creditors/lessors. Nothing
                       herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

                  Name of Creditor                    Collateral                            Acct. No. (Last 4 Digits') Assume/Reiect

                  Nissan Motor Acceptance Corp        2019 Nissan Sentra                    3758
             1.                                                                                                        [■I Assume n Reject
VII.        INCOME TAX RETURNS AND REFUNDS: □ NONE
                   [■] The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
                       annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
                       Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
                       provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
                       increases by more than 3% over the previous year’s income. [Miami cases]

VIII.       NON-STANDARD PLAN PROVISIONS [1 NONE


                       PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

         P
                                             lebtor                                                               Joint Debtor

                                                              Date                                                                        Date • ■
 Juan Perez Mier                                                                                                                          •y




    Attorney with permission to sign on                     Date
                  Debtor(s)' behalf

   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph VIII.




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